The deed which the plaintiff attacks in this action is an absolute one from N. A. Coward to the defendant Rogers, made for a valuable consideration. It was therefore necessary for him to establish by a preponderance of testimony, not only the fraudulent intent of the grantor, but also the knowledge of that intent on the part of the grantee. Reiger v. Davis, 67 N.C. 185; Beasley v. Bray,98 N.C. 266; Savage v. Knight, 92 N.C. 493. It was within the province of the jury alone, under proper instructions, to determine whether or not the defendant Rogers had that knowledge, and his Honor erred when he told them to find the issue for plaintiff if they believed the evidence; for by this instruction he took from them a question which they alone had the right to determine. There was no admission of this knowledge on the part of the grantee Rogers, nor any direct evidence of it. There were other facts established, some by the testimony of Rogers himself, from which it seems the jury might most reasonably have inferred that he knew of his grantor's fraudulent intent; but it was their duty to say what weight should be given to this evidence, and whether or not they would draw this inference.
ERROR.
Cited: Calvert v. Alvey, 152 N.C. 613. *Page 145 